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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE, DR.
ALICE WASHINGTON, STEVEN HARRIS,
ALEXIS CALHOUN, BLACK VOTERS
MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
CONFERENCE OF THE NAACP,                            CIVIL ACTION NO. 3:22-cv-00178
                                                    SDD-SDJ
                             Plaintiffs,

       v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana

                             Defendant.



                                MOTION TO ENROLL COUNSEL

       NOW INTO COURT, through undersigned counsel, comes Defendant, the State of

Louisiana, through Attorney General Jeff Landry, who respectfully requests that the following

attorney be enrolled as additional counsel of record in the above numbered and captioned matter:

                             Amanda M. LaGroue
                             (La. Bar Roll No. 35509)
                             Assistant Attorney General
                             Louisiana Department of Justice
                             P. O. Box 94005
                             Baton Rouge, LA 70804-9005
                             Telephone: (225) 326-6000
                             Fax: (225) 326-6098
                             LaGroueA@ag.louisiana.gov

       Amanda M. LaGroue is an Assistant Attorney General licensed to practice in the State of

Louisiana and in this Honorable Court.

       WHEREFORE, the Defendant prays that the Motion to Enroll Counsel be GRANTED.
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                                            Respectfully submitted,

                                            JEFF LANDRY
                                            ATTORNEY GENERAL

                                    BY:     /s/ Carey T. Jones_________________
                                            Elizabeth B. Murrill (La. Bar #20685)
                                            Solicitor General – Lead Counsel
                                            Angelique D. Freel (La. Bar #28561)
                                            Carey T. Jones (La. Bar #07474)
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                               CERTIFICATE OF SERVICE

        I CERTIFY I have served the foregoing was filed electronically and served on counsel for
the parties by electronic notification by CM/ECF.


                                     /s/ Carey T. Jones
                                   CAREY T. JONES (07474)
